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EXHIBIT A – CJ-2174
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                       Services          Resources           About                                                                                                             Login       f@@+


                                                                                             Frank Newsroom
                                                                               What's al l t he buzz about? Find Frank in                                                                            CJ 2174
                                                                                 t he news and lea rn more about our
                                                                               mission of making educat ion affordable
                                                                                                  for all.



                                                                                    Frank in ! e Media
                        ~ Pivoting Enables Startup To Lower College Tuition By Simplifying Financial Aid          Pivoting Enables Startup To Lower College Tuition By Simplifying Financial Aid
                        Process                                                                                   Process
                                                                                                                  '"'The Frank FAFSA® form is similar to TurboTax but for financial aid," Javice said. lt
                                                                                                                  makes it easy to prepare your application and file it online. You can even get expert
                                                                                                                  advice. "We will follow the family from school selection to 15 years of student loan
                                                                                                                  payments." ___..
                                                                                                                  Read More
                        ~ Should Students Still Get Student Loans To Pay For College?                             Should Students Still Get Student loans To Pay For College?
                                                                                                                  "If you're in your last few years of high school and wondering what comes next, you
                                                                                                                  have probably started thinking about how you'll pay for college. Hopefully your
                                                                                                                  parents have stashed away some money in a 529 savings account, or maybe you'll
                                                                                                                  qualify for scholarships or ot her merit- based aid. If not, it's highly likely you will need
                                                                                                                  to take out loans to attend a four- year college or university, or perhaps even a
                                                                                                                  community college...."
                                                                                                                  Read More
                        ~ Why it's time to invest in building an inclusive culture, not more diversity programs   Why it's t ime to invest in building an inclusive culture, not more diversity programs
                                                                                                                  "Charlie Javice, the fo under o f fintech startup Frank, says the choice to delay or
                                                                                                                  simply not think about hiring inclusively from the very beginning is a costly
                                                                                                                  mistake...."
                                                                                                                  Read More
                        ~ Financial aid-focused Frank expands into helping students take online classes           Financial aid-focused Frank expands into helping students take online classes
                                                                                                                  "Frank, a startup best known for helping college students secure and manage
                                                                                                                  financial aid, is expanding into a new part of the edtech world. Namely, finding and
                                                                                                                  taking online classes, with the company helping students deploy their financial aid
                                                                                                                  money to open d igital slots at more than 100 colleges...."
                                                                                                                  Read More
                        ~ The FAFSA opens Sunday. Here's why every st udent should f ill it out                   The FAFSA opens Sunday. Here's why every student should fill it out
                                                                                                                  "Every year, the U.S. Department of Education gives over $120 billion in federal
                                                                                                                  grants, loans and work- study f unds to more than 13 million college students, making
                                                                                                                  it the largest provider of student financial aid in the country. On Sunday, students will
                                                                                                                  be able to fill out the Free Application for Federal Student Aid, otherwise known as
                                                                                                                  the FAFSA, in order to receive their share of these funds. If you're planning to attend
                                                                                                                  college next year, here's why you need to as well...."
                                                                                                                  Read More
                        ~ 3 Reasons College Students Need to Submit th e FAFSA Every Year                         3 Reasons College Students Need to Submit the FAFSA Every Year
                                                                                                                  "College-bound high school seniors are the most likely targets for nagging about
                                                                                                                  completing the Free Application for Federal Student Aid, or FAFSA®. But the message
                                                                                                                  is just as import ant for returning coll ege students. Students must submit the FAFSA®
                                                                                                                  to access federal financial aid - gran ts, scholarships, work-study and federal loans -
                                                                                                                  as well as certain state and institutional aid each year they're in school. Yet, returning
                                                                                                                  college studen ts aren't achieving the same pace of comp letions as their fresh man
                                                                                                                  counterparts, colleges say...."
                                                                                                                  Read More
                        !;;FAFSA Time, Again                                                                      FAFSA Time, Again
                                                                                                                  "A reminder to college students and their parents: FAFSA® time has come around
                                                                                                                  again. October 1st is the first day you can file your Free Application for Federal
                                                                                                                  Student Aid for the school year 2018-2019 - to access more than $120 billion of
                                                                                                                  Federal student aid, including work/study programs, grants, and scholarships. This
                                                                                                                  deadline applies not only to returning undergrad and graduate students (who must
                                                                                                                  re- file the FAFSA® each year), but also th e students who will enter college as
                                                                                                                  freshmen in the fall of 2018. Since most of this money is given out on a first come-
                                                                                                                  first served basis, you'll want to file the FAFSA® without delay...."
                                                                                                                  Read More
                        Mashable                                                                                  This startup wants to help you claim every last dollar of financial aid
                                                                                                                  "Applying to college is hard enough without the even trickier minefield of financial
                                                                                                                  aid. The basic government form, the dreaded FAFSA®, asks for information high-
                                                                                                                  school studen ts might not know about their families' financial lives. Even parents
                                                                                                                  filling financial aid forms out on their children's behalf can get discouraged and
                                                                                                                  abandon the process partway through. That's where a new startup called Frank
                                                                                                                  comes in. The company will get you a basic financial aid estimate through its websit e
                                                                                                                  within minutes and then negotiate your financial aid offer to make sure you're getting
                                                                                                                  every last dollar of federal, state, and institutional financ ial aid ...."
                                                                                                                  Read More
                        f;JThe 2018-2019 FAFSA® Just Opened. Here's Wha t You Need to Know                        The 2018-2019 FAFSA® Just Opened. Here's What You Need to Know
                                                                                                                  "The Free Application for Federal Student Aid, more commonly known as the
                                                                                                                  FAFSA®, is available for the 2018-2019 school year beginning today, October 1. Filling
                                                                                                                  out the FAFSA® is required to access any of the billions o f dollars that get handed
                                                                                                                  out each year in college grants, loan s, and work study awards...."
                                                                                                                  Read More
                        !;;6 Startups That Could Help Slash The Cost Of College                                   6 Startups That Could Help Slash The Cost Of College
                                                                                                                  "College these days is bonkers expensive. Take my alma mater, Williams College. For
                                                                                                                  the 2017-18 school year, Williams is charging more than $53,000 for tuition. That fee
                                                                                                                  is roughly in line with th e median household income in the U.S.- and doesn't include



                                        -
                                                                                                                  the costs of room and board ...."
                                                                                                                  Read More
                                                                                                                  More Students File Federal Aid Form Under New Rules
                        (!IJl' ,.~r\o Hork <timrs                                                                 "The number of students filing a crucial financial aid form has risen, suggesting that
                                                                                                                  recent changes that have made it easier to file are working, a new analysis finds. The
                                                                                                                  FAFSA, short for Free Application for Federal Student Aid FAFSA®, is the gateway for
                                                                                                                  most financial help for college students, including federal grants and subsidized
                                                                                                                  student loans. Many states and colleges also use FAFSA data to determine eligibility
                                                                                                                  for aid they distribute...."
                                                                                                                  Read More
                        ~ 7 Things You Should Know Before Filing Your FAFSA@                                      7 Things You Should Know Before Filing Your FAFSA®
                                                                                                                  "It's that time again- time to start thinking about college and financial aid. And it's
                                                                                                                  time to prepare to file your FAFSA® or Free Application for Federal Student Aid. like
                                                                                                                  last year, the form can be submitted starting October 1. "A lot of people are still used
                                                                                                                  to th e New Year opening date, so it's important to really remind students that
                                                                                                                   [October 1st] is w hen it opens," says Jasmine Hicks, national field director at Young
                                                                                                                  lnvincibles, Millennial research, and advocacy group...."
                                                                                                                  Read More
                        !;:Should a Parent or Student Take Out the College Loan?                                  Should a Parent or Student Take Out the College Loan?
                                                                                                                  "Many families plan to borrow money to pay for college. But some aren't sure who
                                                                                                                  should take out the loans- t he oarents or the student. Considerina that 42% of


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https://web.archive.org/web/20210730031952/https://withfrank.org/news/
                          Case 1:23-cr-00251-AKH                                     Document families
                                                                                               388-1            Filed
                                                                                                       borrowed money     05/01/25
                                                                                                                      to helP pay for college in thePage        3 ofyear,
                                                                                                                                                    2016 -17 ac'ademic 4
                                                                                                         according to Sallie Mae's "How America Pays for College 2017," this is a decision that
                                                                                                         many people will face. More students take out loans than their parent s, but there is
                                                                                                         no set formula for making the determination ...."
                                                                                                         Read More
                  i;::c harlie Javice Showing Students The Money                                         Charlie Javice Showing Students The Money
                                                                                                         "Her Big Idea: Javice thought there a better way to get s tudents the money available
                                                                                                         to them. In 2017, she launched Frank, an online platform that streamlines the 110
                                                                                                         FAFSA® questions down to a simple 4 -minute process .....
                                                                                                         Read More
                  ~ Online platform encourages students to 'dream smart,' helping vocational student s   Online platform encourages students to 'dream smart ,' helping vocational students
                                                                                                         "As student debt continues to soar, one company is offering a helping hand to all
                                                                                                         students, regard less of their socioeconomic background or educational ambitions.
                                                                                                         Frank is an ontine platform that helps st udents f ile their Free Application for Federal
                                                                                                         Student Aid forms in a matter of minutes. The company can also help negotiate a
                                                                                                         student's financial aid package directly w ith their school to maximize the amount
                                                                                                         they receive. To date, the free financial aid awarded through Frank is estimat ed at up
                                                                                                         to $6.3 billion ac ross 250,000 familie s...."
                                                                                                         Read More
                  i;::How to Get the Most Money From Your College                                        How to Get the Most Money From Your College
                                                                                                         "One big consid eration in choosing a college, at least for most people, is how brutal a
                                                                                                         blow the bills will deal w ith t he family finances. By following a smart strategy in
                                                                                                         applying for financial aid, you may encounter some pleasant surprises - like an offer
                                                                                                         from t hat pricey private college at the top of your w ish list so generous that the
                                                                                                         school ends up being more of a b argain than the local state university. Your first
                                                                                                         move in tapping Uncle Sam's rich resources is to fill out the Free Applicat ion for
                                                                                                         Federal Student Aid - better known as the FAFSA® - as early as possible. ..."
                                                                                                         Read More
                  ~ 7 On Your Side: Negotiat ing the cost of c ollege
                                                                                                                                          ~ i i ir~ ~!~t~~goebillion in financial aid, including S3
                                                                                                         billion in Pell Grants, is left on the table. This happens at the same t ime the amount
                                                                                                         of student loans has sky-rocketed. Right now it's at an all-time high: $1.5 trillion.
                                                                                                         That's more than credit cards and auto d ebt combined. If you're applying for college
                                                                                                         in the fall or are finishing up a year in school, you may know we're in crunch t ime to
                                                                                                         apply for financ ial aid. Th ere's a June 30 filing deadline looming for the 2018/2019
                                                                                                         school year, wit h a 2019/2020 deadline next year. But how do you file those complex
                                                                                                         forms? And after you've received your aid package in the mail, how can you get even
                                                                                                         more money from colleges?..."
                                                                                                         Read More
                  ~ Your Money: Families need to brush up on student loan literacy                       Your Money: Families need to brush up on student loan literacy
                                                                                                         "NEW YORK (Reuters) - For Americans worried about the escalating price of a
                                                                                                         college education, here's good news: Tuition for the typical fa mily barely budged in
                                                                                                         the past year, following years of out-of-control U.S. tuition inflation. The typic al
                                                                                                         American fa mily with a child in college paid an average o f $ 26,226 for the 2018-19
                                                                                                         academic year, nearly the same as t he year before, according to the latest "How
                                                                                                         America Pays for College" survey from lender Sallie Mae. However, college
                                                                                                         affordability is still a challenge as Americans have gaps in their financial literacy. To
                                                                                                         apply for any federal student loans, state grants and work-study programs and
                                                                                                         institutional aid, families are required to fill the Free Appl ication for Federal St udent
                                                                                                         Aid online. While many do, only 77% of those surveyed click "submit ," Sallie Mae
                                                                                                         found ...:·
                                                                                                         Read More
                  ~ 7 On Your Side: Avoiding mistakes with student loans                                 7 On Your Side: Avoiding mistakes with student loans
                                                                                                         "NEW YORK (WABC) - lf you are a college student, it is th e season to be thinking
                                                                                                         about tuition bills. But a warning before you start borrowing to pay those bills - bad
                                                                                                         student loan decisions now can cost you big money in the future...."
                                                                                                         Read More
                  i;::Free Service Helps Students Applying For College With Financial Aid Process        Free Service Helps Students Applying For College With Financial Aid Process
                                                                                                         "NEW YORK (CBSNewYork) - If your kid s are applying for college and don't h ave the
                                                                                                         money to pay for their education, student loans are probably their best option.
                                                                                                         WithFrank.org is a free service that helps students w ith t he financial aid process.
                                                                                                         Charlie Javice, t he company's found er and CEO, says t he first stop is FAFSA, the Free
                                                                                                         Application for Federal Stud ent Need. 'We like to say there's no one too poor to file
                                                                                                         FAFSA or too rich to file FAFSA,.. Javice said. ··If you have a household income that's
                                                                                                         probably $250,000 or under, you should likely apply. That being said, if it is over, you
                                                                                                         still have oppor tunities for scholarships and grants, so it's for everyone. So take the
                                                                                                         few minutes it takes to apply and really see what you·re eligible for because t hat's
                                                                                                         the best starting point you can get before going to college.''. .."
                                                                                                         Read More
                  ~ Navigating the Colle ge Financial Aid Process                                        Navigating the College Financial Aid Process
                                                                                                         "Only on the "CBS This Morning·· podcast, Charlie Javice tells CBS News
                                                                                                         correspondent Anna Werner how her company helps streamline and simplify th e
                                                                                                         process for applying for financial aid. Frank is an online tool that has helped 300,000
                                                                                                         students maximize t heir financial aid for college. Referred to as the "TurboTax of
                                                                                                         financial aid," Frank offers services to help students fill out t he Free Application for
                                                                                                         Federal Student Aid (FAFSA) and negotiate aid packages with colleges. Javice, who
                                                                                                         was named on 2019 Forbes "30 Under 30" list, explains how she's working to give
                                                                                                         more students the option of an affordable education ...."
                                                                                                         Read More
                  !;',August 17, 2019, Avoid These College Lo an Mistake s                               August 17, 2019: Avoid These College Loan Mistakes
                                                                                                         "Charlie Javice of withFrank.org says Students borrow too much money & make
                                                                                                         other big college loan mistakes...."
                                                                                                         Read More
                  ~ What you can do when your college financial aid award falls short                    What you can do when your college fin ancial aid award f alls short
                                                                                                         "It's hard to say which is more nerve-wracking - waiting for your college acceptance
                                                                                                         or for your financial award letter. If a college turns you down, there's little you can d o
                                                                                                         other than apply again. But you have more immediate options when it comes to
                                                                                                         financial aid. Th e good news, whether you're an incoming freshman or an
                                                                                                         upperclassman, is that you can appeal that decision. Here's how to state you r
                                                                                                         case ...."
                                                                                                         Read More
                  i;::c harlie Javice: "Rejection is a numbers game"                                     Charlie Javice: "Rejection is a numbers game"
                                                                                                         "Imagine seeing the frustrat ing obs tacles affecting millions of students applying for
                                                                                                         financial aid and deciding to create a solution. Charlie Javice discusses building her
                                                                                                         startup Frank, t he 300,000 students Frank has helped receive $7 billion in financial
                                                                                                         aid, starting a soup kitchen in her high school, and why rejection is a numbers game.
                                                                                                         Here are some takeaways from Charlie Javice. If you get a "no" from someone in
                                                                                                         business, it may be because they are in a bad mood or re ceived bad news. Charlie
                                                                                                         Javice points out it might not have anything to do with you. It could be a number of
                                                                                                         reasons. Maybe they are in a bad mood or d ealing with personal issues. Charlie
                                                                                                         suggests, as long as you're respectful, reaching out again later. The person may be in
                                                                                                         a better place and turn your ask into a "yes".. Never accept the first offer...."
                                                                                                         Read More
                  ~ Finally, College Admissions and Scholarships Have Gone Digital!                      Finally, College Admissions and Scholarships Have Gone Digital!
                                                                                                         "Steve spoke with Charlie Javic e. She is the 26- year-old founder of fintech st artup,
                                                                                                         Frank. She's also on Forbes' "30 under 30" list. She created the company to h elp
                                                                                                         students as they apply for financial aid. Her goal? To completely transform the
                                                                                                         application process, making it easier to compl ete and easier for students to f ind the
                                                                                                         funding th ey ne ed to go to the school of their choice. Wh y Get Involved In Financial
                                                                                                         Aid? Charlie explained that she start ed the fin-tech company as a direct result of her
                                                                                                         grandparents, who survived the Holocaust. The lesson they left her with is t hat
                                                                                                         education is vital. You can take it wit h you for the rest of your life. There is a d efi nite
                                                                                                         need for many kids to apply for financial aid in order to get a higher education, and
                                                                                                         the process can be a nightmare ...."
                                                                                                         Read More
                  !;:Your Money: U.S. tax reform further complicates federal student aid form            Your Money: U.S. tax reform further complicates federal student aid form
                                                                                                         "NEW YORK (Reuters) - U.S. tax reform is finally catching up with the college
                                                                                                         f inancial aid process, and the synchronization is off to a rocky star t. The Free
                                                                                                         Application for Federal Student Aid (FAFSA®) for the 2010-2021 academic year
                                                                                                         became available on Oct. 1. This form, the first since the Tax Cuts and Jobs Act went
                                                                                                         into effect, req uires information from 2018 tax returns ...."
                                                                                                         Read More
                  ~ You can apply for FAFSA® college aid money now, but avoid these 3 pitfalls           You can apply for FAFSA® college aid money now, but avoid these 3 pitfalls
                                                                                                         "The Fre e Application for Federal Student Aid - also known as the FAFSA® - rolls out
                                                                                                         Oct. 1 for students who plan on attending college in fall 2020. While college
                                                                                                         application deadlines may be month s away, exper ts stre ss t hat students and their
                                                                                                         families should f ile their FAFSA® as soon after Oct. 1 as possible...."
                                                                                                         Read More
                  ~ The FAFSA® opens October 1- here's how to complete it , in 6 simple steps
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                                                                                                   through grants, loans and work-study...."
                                                                                                            Read More
                  ~ People Are Worried Applying For College Financial Aid Could Be A Total Mess This        People Are Worri ed Applying For College Financial Aid Could Be A Total Mess This
                  Year                                                                                      Year
                                                                                                            "Students applying for federal financial aid should be wary of new problems that
                                                                                                            could arise from changes to 2018 tax forms, warned a group of US senators as the
                                                                                                            Oct. 1 rollout date for the 2020- 21 Free Application for Federal Student
                                                                                                            Aid approached ...."
                                                                                                            Read More
                  ~ Why banking apps and startups suddenly all have human first names                       Why banking apps and startups sud denly all have human first names
                                                                                                            'When you need some money to make it to your next paycheck, you can always call
                                                                                                            on Dave. If you n eed budgeting help , reach out to Brigit. And for a personal loan to
                                                                                                            get you out of credit card debt, try Marcus...."
                                                                                                            Read More
                  !;;Streamlining the College Loan Process to Help Students Pick Schools That Fit           Streamlining the College Loan Process to Help Students Pick Schools That Fit Their
                  Their Goals and Budget                                                                    Goals and Budget
                                                                                                            "More than 350,000 prospective college students have used Frank to apply for
                                                                                                            f inancial aid and find the right school. The platform simplifies the federal student
                                                                                                            loan process and connec ts candidates to additional assistance while helping them
                                                                                                            discover the best opportunities given their financial status and career goals...."
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                  ~ 5 ways to 'hack' your college tuition in 2021                                           5 ways to 'hack' your college tuition in 2021
                                                                                                            "Students planning to enroll in college or take college courses in 2021 will not only be
                                                                                                            deciding on schools over the next few months but will also be navigating the
                                                                                                            f inancial aid process. And while the undertaking can be a stre ssful one, it doesn't
                                                                                                            have to be, Charlie Javice, the CEO and founder of Frank - a business aimed at
                                                                                                            making college more affordable - told 1010 WINS on Wednesday. Javice, whose
                                                                                                            own experience securing a financial aid package for college inspired her to help
                                                                                                            others do the same, shared her top five tips for cutting costs... "
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                                                      Application for Federal St udent Aid (FAFSA®l form and assistance available to the public for free at fafsa.gov.

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                            1


                                                   credit course given 30 credits per year, and Classfinder's 3 credit course offering has a minimum price of $295.




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